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                                   United States District Court
                                   Southern District of Florida
                              Case No. 14-23933-Civ-Huck/McAliley
       John Doe #4, et al.,
          Plaintiffs,

       v.

       Miami-Dade County,
          Defendants.

                             Defendant’s Unopposed Motion to Bring
                      Electronic Equipment into Courthouse for Use at Trial
            Defendant, Miami-Dade County, by and through undersigned counsel, respectfully
  requests that the Court enter an Order authorizing the Defendant’s staff and outside vendor to be
  able to bring any and all electronic equipment including laptop computers, computer monitors, cell
  phones, presentation projectors, and all miscellaneous video, data, power cables and cords
  necessary to operate all equipment into the courthouse and courtroom during the one-week trial
  period scheduled to commence on October 22, 2018. The Defendant also requests their legal
  assistants be permitted to bring cell phones into the courthouse to assist in coordinating testimony
  of witnesses and other logistical matters. A proposed order is attached hereto. This motion is
  unopposed.
  Dated: October 18, 2018                       Respectfully submitted,

                                                ABIGAIL PRICE-WILLIAMS
                                                Miami Dade County Attorney
                                                Stephen P. Clark Center
                                                111 N.W. 1st Street, Suite 2810
                                                Miami, Florida 33128

                                                By: /s/ Michael B. Valdes
                                                Michael B. Valdes, Assistant County Attorney
                                                Florida Bar No. 93129
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                                      Certificate of Service
     I hereby certify that a true and correct copy of the foregoing was served on October 18, 2018

  on all counsel or parties of record in the manner indicated on the Service List below.

                                                  /s/ Michael B. Valdes
                                                  Assistant County Attorney
                                            Service List
   Counsel for Plaintiffs                          Counsel for Miami-Dade County
   Daniel B. Tilley and Nancy Abudu
   ACLUE Foundation of Florida                       Michael B. Valdes and Bernard Pastor
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   Miami, FL 33137                                   Miami-Dade County Attorney’s Office
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   Criminal Law Reform Project                       No service necessary
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                                    United States District Court
                                    Southern District of Florida
                               Case No. 14-23933-Civ-Huck/McAliley
   John Doe #4, et al.,
         Plaintiffs,

       v.

   Miami-Dade County,
         Defendants.

                                  Order Granting Motion to Bring
                       Electronic Equipment into Courthouse for Use at Trial
            THIS CAUSE having come before the Court upon the Defendant, Miami-Dade County’s
  Unopposed Motion For Authorization To Bring Electronic Equipment Into Courthouse For Use
  At Trial, (the “Motion”), and the Court being fully advised in the premises, it is hereby;
            ORDERED AND ADJUDGED as follows:
            1. The Motion is hereby GRANTED.
            2. Defendant’s counsel and counsel’s staff shall have permission to bring any and all
  electronic equipment including laptop computers, computer monitors, cell phones, presentation
  projectors, and all miscellaneous video, data, power cables and cords necessary to operate all
  equipment into the courthouse and courtroom during the trial in the above-captioned matter, which
  commences on October 22, 2018, and for the duration thereof.
            3. Defendant’s counsel’s staff are Doris Mora, Lagarria Richardson, Kathleen Walsh,
  Mauricio Perez, Luis Arvelo, and Ronald Smith.
            DONE AND ORDERED in Chambers at Miami, Florida, on this _____ day of October,
  2018.



                                        ________________________________
                                        THE HONORABLE PAUL C. HUCK
                                        UNITED STATES DISTRICT COURT
